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AO 468 (Rev. 04/15) Waiver of a Preliminary Hearing

UNITED STATES DISTRICT COURT

for the
Eastern District of Washington

United States of America

Vv.
Arturo Tejeda Case No. 4:21-MJ-07015-MKD

—— ee

Defendant

WAIVER OF A PRELIMINARY HEARING

I understand that I have been charged with an offense in a criminal complaint filed in this court, or charged with
violating the terms of probation or supervised release in a petition filed in this court. A magistrate judge has informed
me of my right to a preliminary hearing under Fed. R. Crim. P. 5.1, or to a preliminary hearing under Fed. R. Crim. P.
32.1,

I agree to waive my right to a preliminary hearing under Fed. R. Crim. P. 5.1 or Fed. R. Crim. P. 32.1.

Date | 28] 202/

Defendant's signature

 

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ignature @f d@fendant’s attorney
Douglas McKinley, Jr. 20806
Printed name and bar number of defendant's attorney

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